
In re: Linda M. Loehr applying for writs of review.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Robert M. Fleming, Judge of the 16th Judicial District, Court for the Parish of St. Mary to transmit to the Supreme Court of Louisiana, on or before the 28th day of November, 1977, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court, and the respondent through Counsel shall show cause in this court, on a date to be fixed by this Court, why the relief prayed for the petition of the relator should not be granted.
